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11   Redco Corporation f/k/a Crane Co.
12

13                             UNITED STATES DISTRICT COURT
14                          NORTHERN DISTRICT OF CALIFORNIA
15

16 STEPHANIE SMARGISSO,                            Case No. 4:23-cv-01414-HSG
   individually and as successor-in-interest
17 to Decedent WILLIAM ANKIEL JR.,
   and WILLIAM ANKIEL III, MARY
18 BEECHLER, and ANNAMARIE
                                                   DEFENDANT REDCO
19 BRANDENBURGER, individually,                    CORPORATION’S (FORMERLY
                                                   KNOWN AS CRANE CO.) ANSWER
20                         Plaintiffs,             TO PLAINTIFFS’ COMPLAINT;
21                                                 DEMAND FOR JURY TRIAL
     vs.
22

23   AIR & LIQUID SYSTEMS
     CORPORATION, et al.,                          Complaint Filed: March 24, 2023
24

25                         Defendants.
26

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           DEFENDANT REDCO CORPORATION’S (FORMERLY KNOWN AS CRANE CO.) ANSWER TO PLAINTIFFS’
                                 COMPLAINT; DEMAND FOR JURY TRIAL
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 1         Defendant Redco hereby answers the Complaint (the “Complaint”) of Plaintiffs
 2   STEPHANIE SMARGISSO, individually and as successor-in-interest to Decedent
 3   WILLIAM ANKIEL JR., and WILLIAM ANKIEL III, MARY BEECHLER, and
 4   ANNAMARIE BRANDENBURGER, individually (“Plaintiffs”), together with its
 5   Affirmative Defenses, and Cross-Claims stating as follows:
 6                         ANSWER TO PLAINTIFFS’ ALLEGATIONS
 7         1.     Redco generally denies all allegations in the Complaint except for those
 8   specifically admitted below.
 9         2.     As to the jurisdictional allegations in the Complaint, Redco admits that it
10   is a Delaware corporation with its principal place of business in Connecticut, and that
11   it has done business in the State of California. Redco denies all other jurisdictional
12   allegations, including but not limited to, any allegations that Redco’s business
13   activities in California are related to the claims asserted herein and the allegation that
14   Redco is subject to personal jurisdiction in this matter.
15         3.     Redco denies all allegations of liability asserted against Redco in the
16   Complaint, denies that it is liable to Plaintiff under any theory of recovery, and denies
17   that Plaintiff has suffered any injury caused or contributed to by Redco
18         4.     As to all allegations asserted against Defendants other than Redco, after
19   reasonable investigation, Redco is without knowledge or information sufficient to
20   form a belief about the truth of such allegations.
21                           ANSWER TO PRAYER FOR RELIEF
22         Redco denies that Plaintiff is entitled to any of the relief requested against Redco,
23   including damages, attorneys’ fees, costs, pre- or post-judgment interest, or any other
24   relief of any kind.
25         Redco asserts the following affirmative defenses, each as a separate and distinct
26   affirmative defense. Insofar as any of the following expresses a denial of an element
27   of the claims alleged against Redco, such expression is in no way intended as a
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        DEFENDANT REDCO CORPORATION’S (FORMERLY KNOWN AS CRANE CO.) ANSWER TO PLAINTIFFS’
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 1   concession that Plaintiffs are relieved of their burden to prove each and every element
 2   of any such claim.
 3                                AFFIRMATIVE DEFENSES
 4                            FIRST AFFIRMATIVE DEFENSE
 5                   (Predecessor and/or Successor-In-Interest Liability)
 6         1.     As a first affirmative defense, Redco alleges that to the extent that any
 7   claim for relief in the Complaint seeks to recover damages against Redco for alleged
 8   acts or omissions of predecessors, alternates or successors-in-interest to Redco of any
 9   kind or description, Redco asserts that it is not legally responsible and cannot legally
10   be held liable for any such acts or omissions. Redco further alleges that it cannot be
11   held liable for punitive damages and/or exemplary damages which are or may be
12   attributable to the conduct of any predecessor, alternate or successor-in-interest.
13   Further, Redco alleges that the conduct of any predecessor or successor-in-interest
14   cannot, as a matter of law, provide a legal basis for liability or the imposition of
15   damages against Redco
16                           SECOND AFFIRMATIVE DEFENSE
17                                    (Statute of Limitations)
18         2.     As a second affirmative defense, Plaintiffs’ Complaint, and each and
19   every purported cause of action asserted therein, is barred by the applicable statute of
20   limitations, including, but not limited to, California Code of Civil Procedure §§ 337,
21   338, 339, 340, 340.2, and 343.
22                            THIRD AFFIRMATIVE DEFENSE
23                            (Intervening or Supervening Cause)
24         3.     As a third affirmative defense, Redco is informed and believes, and based
25   thereon alleges, that Plaintiffs’ injuries and alleged damages were proximately caused
26   by independent, intervening, and supervening causes. Plaintiffs’ are therefore barred
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        DEFENDANT REDCO CORPORATION’S (FORMERLY KNOWN AS CRANE CO.) ANSWER TO PLAINTIFFS’
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 1   in whole or in part from recovering from Redco on his Complaint and each cause of
 2   action.
 3                            FOURTH AFFIRMATIVE DEFENSE
 4                                   (Comparative Negligence)
 5         4.       As a fourth affirmative defense, Redco is informed and believes, and
 6   based thereon alleges, that at all times relevant hereto, Plaintiffs failed to exercise
 7   ordinary care, caution or prudence, negligently or willfully failed to take appropriate
 8   care. Therefore, any injuries or damages allegedly sustained by Plaintiffs were the
 9   direct and proximate result of Plaintiffs’ negligence, fault, or other conduct, and not
10   the result of any negligence, fault, or other chargeable conduct on the part of Redco
11   Redco’s alleged liability to Plaintiffs should, therefore, be denied, reduced, or
12   apportioned accordingly.
13                             FIFTH AFFIRMATIVE DEFENSE
14                                     (Assumption of Risk)
15         5.       As a fifth affirmative defense, Redco is informed and believes, and based
16   thereon alleges, that Plaintiffs were aware of and had a full appreciation of the risks, if
17   any, associated with the complained of activities, and knowingly and voluntarily
18   assumed the risks and hazards, if any, of the alleged incidents complained of, and
19   Plaintiffs’ alleged injuries and damages, if any, were proximately caused by Plaintiffs’
20   express assumption of such risks.
21                             SIXTH AFFIRMATIVE DEFENSE
22                                      (Failure to Mitigate)
23         6.       As a sixth affirmative defense, Redco alleges that Plaintiffs have failed to
24   minimize or avoid any and all damages allegedly caused to them by Redco Any
25   damages that may be recoverable by Plaintiffs should therefore be denied or reduced
26   accordingly.
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        DEFENDANT REDCO CORPORATION’S (FORMERLY KNOWN AS CRANE CO.) ANSWER TO PLAINTIFFS’
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 1                          SEVENTH AFFIRMATIVE DEFENSE
 2                                           (Laches)
 3         7.     As a seventh affirmative defense, Redco alleges that Plaintiffs have lost
 4   any right to relief against Redco through laches, which has resulted in substantial
 5   prejudice to Redco
 6                          EIGHTH AFFIRMATIVE DEFENSE
 7                                      (Unclean Hands)
 8         8.     As an eighth affirmative defense, Redco alleges that by reason of the
 9   conduct of Plaintiffs, the claims alleged in Plaintiffs’ Complaint against Redco are
10   barred, in whole or in part, by the doctrine of unclean hands.
11                           NINTH AFFIRMATIVE DEFENSE
12                                          (Estoppel)
13         9.     As a ninth affirmative defense, Redco alleges that by reason of the
14   conduct of Plaintiffs, the alleged claims in Plaintiffs’ Complaint against Redco are
15   barred, in whole or in part, by the doctrine of estoppel.
16                           TENTH AFFIRMATIVE DEFENSE
17                                   (Misconduct of Others)
18         10.    As a tenth affirmative defense, Redco alleges that the damages Plaintiffs
19   allege in the Complaint, if any, were proximately caused by the acts and omissions of
20   persons and entities other than Redco, and over which Redco had no control.
21                        ELEVENTH AFFIRMATIVE DEFENSE
22                           (No Entitlement to Punitive Damages)
23         11.    As an eleventh affirmative defense, Redco alleges that Plaintiffs are
24   precluded from recovering punitive damages, in whole or in part, from Redco under
25   the applicable provisions of law, including, but not limited to, California Civil Code,
26   the California Constitution, and the United States Constitution.
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 1                         TWELFTH AFFIRMATIVE DEFENSE
 2                               (Workers’ Compensation Act)
 3         12.    As a twelfth affirmative defense, Redco is informed and believes, and
 4   based thereon alleges, that at the time more specifically alleged in the Complaint,
 5   Plaintiffs were in the course and scope of their employment with some of the co-
 6   defendants and/or others, who were insured, or permissively self-insured, for their
 7   liability as employers under the Workers’ Compensation Act of the State of
 8   California, and that pursuant to said insurance, payments are being made or were
 9   made to Plaintiffs for compensation for the injuries that are alleged to have resulted
10   from the incidents set forth in the Complaint. Redco is further informed and believes,
11   and based thereon alleges, that any and all injuries alleged to have been suffered by
12   Plaintiffs were the direct and proximate result of, and were contributed to by the
13   negligence of the employers of Plaintiffs, and that said negligence and the wrongful
14   conduct of Plaintiffs’ employers included, but was not limited to, the failure to
15   provide Plaintiffs with a safe place to work, and to provide Plaintiffs with the proper
16   tools, devices, and equipment to avoid injuries, and the failure to properly supervise
17   and warn Plaintiffs of any dangers and hazards attendant to his employment. Redco is
18   therefore entitled to a reduction of any judgment or recovery ultimately had by
19   Plaintiffs by the sum of those amounts paid to Plaintiffs on behalf of Plaintiffs’
20   employers pursuant to the Workers’ Compensation Act of this State.
21                       THIRTEENTH AFFIRMATIVE DEFENSE
22                          (Allocation of Non-Economic Damages)
23         13.    As a thirteenth affirmative defense, Redco alleges that Plaintiffs are
24   barred and precluded from recovery against Redco for any non-economic damages
25   except those allocated to Redco in direct proportion to its percentage of fault, if there
26   is any such fault or damages.
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 1                       FOURTEENTH AFFIRMATIVE DEFENSE
 2                                           (Misuse)
 3         14.    As a fourteenth affirmative defense, Redco alleges that any and all of the
 4   injuries and damages allegedly suffered by the Plaintiffs were directly and
 5   proximately caused by Plaintiffs’ misuse of any and all products or equipment utilized
 6   by Plaintiffs, as alleged in Plaintiffs’ Complaint, and not as a direct and proximate
 7   result of any wrongful conduct on the part of Redco
 8                        FIFTEENTH AFFIRMATIVE DEFENSE
 9                         (Workers’ Compensation Appeal Board)
10         15.    As a fifteenth affirmative defense, Redco alleges that the exclusive
11   remedy for the acts alleged in Plaintiffs’ Complaint is a claim for compensation before
12   the Workers’ Compensation Appeal Board, and that accordingly, this action is barred
13   by the provisions of Sections 3600, 3601, and 3602 of the Labor Code.
14                        SIXTEENTH AFFIRMATIVE DEFENSE
15                           (Idiosyncratic Condition or Reaction)
16         16.    As a sixteenth affirmative defense, Redco alleges that any and all injuries
17   suffered by Plaintiffs were the direct and proximate result of an unforeseeable
18   idiosyncratic condition or reaction on the part of Plaintiffs and not, as alleged, as a
19   direct and proximate result of wrongful conduct on the part of Redco
20                      SEVENTEENTH AFFIRMATIVE DEFENSE
21                                     (Sophisticated User)
22         17.    As a seventeenth affirmative defense, Redco alleges that Plaintiffs, their
23   employers, and those entities or individuals who purchased or used Redco’s products,
24   including the other defendants in this action, were knowledgeable, informed, and
25   sophisticated regarding any alleged risks to Plaintiffs’ health from working with or
26   around asbestos or asbestos-containing products. Therefore, Redco had no duty to
27   warn any of those individuals or entities concerning purported dangerous health
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        DEFENDANT REDCO CORPORATION’S (FORMERLY KNOWN AS CRANE CO.) ANSWER TO PLAINTIFFS’
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 1   conditions or any applicable safety precautions that those individuals or entities knew
 2   or should have known were associated with asbestos or asbestos-containing products
 3   or any affixed or replacement parts. Consequently, Redco is not liable to Plaintiffs
 4   under any stated cause of action, including but not limited to those based on
 5   negligence, strict liability, failure to warn and design defect. Furthermore, this
 6   affirmative defense applies, and is a complete defense to all of Plaintiffs’ causes of
 7   action, even if Plaintiffs were not sophisticated but their employers or others were
 8   sophisticated purchasers and/or users of asbestos or asbestos-containing products,
 9   since those sophisticated intermediaries were thereby obligated to educate and warn
10   Plaintiffs about any potential dangers, if any, associated with his work on or around
11   those products, without the additional necessity of a manufacturer's or distributor's
12   warning.
13                           EIGHTEENTH AFFIRMATIVE DEFENSE
14                                    (Alteration of Product)
15         18.    As an eighteenth affirmative defense, Redco alleges that any and all of its
16   products, if any, which were utilized by Plaintiffs at the time alleged in the Complaint,
17   were altered or changed from the original condition of said products at the time that
18   they left the possession and control of Redco. Redco further alleges that at the time
19   said products left the possession and control of Redco, said products were not, in any
20   way, defective.
21                       NINETEENTH AFFIRMATIVE DEFENSE
22                                  (Market-Share Liability)
23         19.    As a nineteenth affirmative defense, Redco alleges that the Complaint
24   failed to identify the products or materials that Plaintiffs allege caused Plaintiffs’
25   injuries with any reasonable specificity. Plaintiffs further fail to allege that they have
26   joined in this action a substantial share of the market of those products to which
27   Plaintiffs were allegedly exposed. Plaintiffs’ Complaint fails to allege facts sufficient
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 1   to constitute a cause of action based upon market-share liability, and therefore,
 2   Plaintiffs’ Complaint violates the guarantees of due process of law and equal
 3   protection of the laws guaranteed by the United States and California Constitutions,
 4   and such violation bars Plaintiffs from any judgment or recovery whatsoever against
 5   Redco
 6                        TWENTIETH AFFIRMATIVE DEFENSE
 7                                     (Component Parts)
 8           20.   As a twentieth affirmative defense, Redco alleges that the Redco
 9   products at issue in this case are or were inherently safe, non-defective component
10   parts. These component parts are significantly altered when integrated with other
11   manufacturers' asbestos-containing materials into completed products by third parties.
12   Redco exercised no control over the post-sale use of its component parts, and had no
13   role in the design or construction of the completed products that purportedly exposed
14   Plaintiffs to asbestos. Thus, Redco could not have discovered or disclosed to Plaintiffs
15   any hazards posed by completed products that incorporated Redco's inherently safe,
16   none-defective component parts and other manufacturers' asbestos-containing
17   materials.
18                      TWENTY-FIRST AFFIRMATIVE DEFENSE
19                                    (Federal Preemption)
20           21.   As a twenty-first affirmative defense, Redco alleges that Plaintiffs’
21   claims are barred by the doctrine of Federal Preemption.
22                     TWENTY-SECOND AFFIRMATIVE DEFENSE
23                           (Failure to Join Indispensable Parties)
24           22.   As a twenty-second affirmative defense, Redco is informed and believes,
25   and based thereon alleges, that Plaintiffs have failed to join all indispensable parties.
26   Therefore, complete relief cannot be accorded to those who are already parties to this
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 1   action and Plaintiffs’ failure to join all indispensable parties will result in prejudice in
 2   any possible future litigation.
 3                       TWENTY-THIRD AFFIRMATIVE DEFENSE
 4                                     (Failure to State a Claim)
 5            23.   As a twenty-third affirmative defense, Redco alleges that the Complaint
 6   and causes of action therein fail to state facts sufficient to constitute a cause of action
 7   against Redco.
 8                      TWENTY-FOURTH AFFIRMATIVE DEFENSE
 9                                      (Negligence of Others)
10            24.   As a twenty-fourth affirmative defense, Redco alleges that if there is any
11   negligence or liability of any of the parties named herein, it is the sole and exclusive
12   negligence and liability of the other Defendants, and not of Redco.
13                        TWENTY-FIFTH AFFIRMATIVE DEFENSE
14                                      (Failure to State Claim)
15            25.   As a twenty-fifth affirmative defense, Redco alleges that the Complaint
16   and the causes of action therein fail to state facts sufficient to constitute a cause of
17   action against Redco pursuant to sections 3600, et seq., of the California Labor Code.
18                        TWENTY-SIXTH AFFIRMATIVE DEFENSE
19                                     (Contributory Negligence)
20            26.   As a twenty-sixth affirmative defense, Redco alleges that Plaintiffs’
21   employers were contributorily negligent and careless in and about the matters alleged
22   in the Complaint, and that such negligence and carelessness were a proximate cause of
23   any injuries and damages suffered by Plaintiffs, if there were any.
24   ///
25   ///
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 1                   TWENTY-SEVENTH AFFIRMATIVE DEFENSE
 2                                        (Ratification)
 3         27.    As a twenty-seventh affirmative defense, Redco alleges that Plaintiffs
 4   acknowledged, ratified, consented to and acquiesced in the alleged acts or omissions,
 5   if any, of Redco, thus barring Plaintiffs from any relief as prayed for herein.
 6                    TWENTY-EIGHTH AFFIRMATIVE DEFENSE
 7                                    (Inability to Testify)
 8         28.    As a twenty-eighth affirmative defense, Redco is informed and believes
 9   and therefore alleges that Plaintiffs are unable to identify the actual manufacturer or
10   manufacturers of the asbestos products which allegedly caused the injury which forms
11   the basis of the Complaint, and that said manufacturers were entities other than Redco.
12   Therefore, Redco may not be held liable for the injury of Plaintiffs, if any.
13                     TWENTY-NINTH AFFIRMATIVE DEFENSE
14                                      (State of the Art)
15         29.    As a twenty-ninth affirmative defense, Redco alleges that at all times
16   alleged in the Complaint the products alleged to have caused Plaintiffs’ injuries were
17   designed, manufactured, sold, distributed, labeled, and advertised in compliance with
18   the then existing state of the art in the industry to which Redco belonged and
19   furthermore, that the benefits of any such product design outweighed any risk of
20   danger in the design and that any such product met the safety expectations of Plaintiffs
21   and the general public.
22                        THIRTIETH AFFIRMATIVE DEFENSE
23                                 (Accord and Satisfaction)
24         30.    As a thirtieth affirmative defense, Redco alleges that Plaintiffs have
25   released, settled, entered into an accord and satisfaction or otherwise compromised
26   their claims herein, and accordingly, said claims are barred by operation of law;
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 1   alternatively, Plaintiffs have accepted compensation as partial settlement of those
 2   claims for which Redco is entitled to a setoff.
 3                       THIRTY-FIRST AFFIRMATIVE DEFENSE
 4                         (No Gross Negligence or Intentional Acts)
 5         31.    As a thirty-first affirmative defense, Redco alleges that there was no
 6   negligence, gross negligence, willful, wanton, or malicious misconduct, reckless
 7   indifference or reckless disregard of the rights of Plaintiffs, or malice (actual, legal, or
 8   otherwise) on the part of Redco as to Plaintiffs.
 9                     THIRTY-SECOND AFFIRMATIVE DEFENSE
10                                    (No Prior Notification)
11         32.    As a thirty-second affirmative defense, Redco alleges that Plaintiffs, prior
12   to the filing of this Complaint, never informed Redco, by notification or otherwise, of
13   any breach of express and/or implied warranties; consequently, any claims of breach
14   of express and/or implied warranties against Redco are barred.
15                      THIRTY-THIRD AFFIRMATIVE DEFENSE
16                                  (Responsibility of Others)
17         33.    As a thirty-third affirmative defense, Redco alleges that the injuries and
18   damages of Plaintiffs, if any, were directly caused by the conduct of Johns-Manville
19   Sales Corporation, its predecessors and successors in interest, its parent company or
20   companies, its affiliates, subsidiaries, or related companies and enterprises.
21                     THIRTY-FOURTH AFFIRMATIVE DEFENSE
22               (Punitive Damages Sought in Violation of the Constitution)
23         34.    As a thirty-fourth affirmative defense, Redco alleges that to the extent the
24   amount of punitive damages sought is unconstitutionally excessive under the United
25   States Constitution because it violates the Excessive Fines Clause of the Eighth
26   Amendment to the United States Constitution, and the Due Process Clause of the
27   Fourteenth Amendment to the United States Constitution.
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 1                      THIRTY-FIFTH AFFIRMATIVE DEFENSE
 2               (Punitive Damages Sought in Violation of the Constitution)
 3         35.    As a thirty-fifth affirmative defense, Redco alleges that Plaintiffs’ claim
 4   for punitive damages impermissibly seeks a multiple award of punitive damages
 5   against Redco in violation of the following constitutional provisions: the Contracts
 6   Clause of Article I, section 10 of the United States Constitution; the Excessive Fines
 7   Clause of the Eighth Amendment to the United States Constitution; the Due Process
 8   Clause of the Fourteenth Amendment to the United States Constitution and its
 9   counterpart under the California Constitution; the Equal Protection and Due Process
10   provisions of the Fifth and Fourteenth Amendments to the United States Constitution
11   and Article I, section 7 of the California Constitution; and Redco’s right to be free of
12   Cruel and Unusual Punishment and Excessive Fines as guaranteed under the Fifth,
13   Eighth and Fourteenth Amendments to the United States Constitution and Article I,
14   sections 7 and 17, Article IV, section 16 of the California Constitution.
15                      THIRTY-SIXTH AFFIRMATIVE DEFENSE
16                                 (Contributory Negligence)
17         36.    As a thirty-sixth affirmative defense, Redco alleges that Plaintiffs failed
18   to exercise ordinary care for their own safety and well-being, and that failure to
19   exercise ordinary care proximately and directly caused and/or contributed to the
20   alleged illness and injury pled in the Complaint. Consequently, Redco is entitled to
21   the full protection afforded by law.
22                    THIRTY-SEVENTH AFFIRMATIVE DEFENSE
23                                      (Unforeseeability)
24         37.    As a thirty-seventh affirmative defense, Redco alleges that at all times
25   and places mentioned in the Complaint, Plaintiffs and/or other persons used Redco’s
26   products, if indeed any were used, in an unreasonable manner, not reasonably
27   foreseeable to Redco, and for a purpose for which the products were not intended,
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        DEFENDANT REDCO CORPORATION’S (FORMERLY KNOWN AS CRANE CO.) ANSWER TO PLAINTIFFS’
                              COMPLAINT; DEMAND FOR JURY TRIAL
                                         4:23-CV-01414-HSG
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 1   manufactured or designed. Plaintiffs’ injuries and damages, if any, were therefore
 2   directly and proximately caused by this misuse and abuse of such products.
 3                     THIRTY-EIGHTH AFFIRMATIVE DEFENSE
 4                                     (Minimal Exposure)
 5         38.    As a thirty-eighth affirmative defense, Redco alleges that any exposure of
 6   Plaintiffs to Redco’s product or products, which exposure is vigorously denied, was so
 7   minimal as to be insufficient to establish a reasonable degree of probability that the
 8   product or products caused Plaintiffs’ alleged injuries and illness.
 9                      THIRTY-NINTH AFFIRMATIVE DEFENSE
10                                           (Waiver)
11         39.    As a thirty-ninth affirmative defense, Redco alleges that Plaintiffs have
12   waived any and all claims sought in this action and are estopped both to assert and to
13   recover upon such claims.
14                         FORTIETH AFFIRMATIVE DEFENSE
15                                (Joint and Several Liability)
16         40.    As a fortieth affirmative defense, Redco alleges that the doctrine of joint
17   and several liability has been abolished in a case such as this, and should Plaintiffs
18   prevail against Redco, Redco’s liability is several and is limited to its own actionable
19   segment of fault, which fault is vigorously denied.
20                       FORTY-FIRST AFFIRMATIVE DEFENSE
21                                 (Violation of Due Process)
22         41.    As a forty-first affirmative defense, Redco alleges that the causes of
23   action asserted by Plaintiffs fail to state a claim upon which relief can be granted, or,
24   if relief be granted, Redco’s Constitutional right to substantive and procedural due
25   process of law would be contravened.
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 1                     FORTY-SECOND AFFIRMATIVE DEFENSE
 2                                           (Taking)
 3         42.    As a forty-second affirmative defense, Redco alleges that the causes of
 4   action asserted by Plaintiffs fail to state a claim upon which relief can be granted, for
 5   if relief be granted, such relief would constitute a taking of Redco’s property for a
 6   public use without just compensation, a violation of Redco’s Constitutional rights.
 7                       FORTY-THIRD AFFIRMATIVE DEFENSE
 8                               (Violation of Equal Protection)
 9         43.    As a forty-third affirmative defense, Redco alleges that the causes of
10   action asserted by Plaintiffs fail to state a claim upon which relief can be granted
11   because such relief would constitute a denial by this Court of Redco’s Constitutional
12   right to equal protection under the law.
13                     FORTY-FOURTH AFFIRMATIVE DEFENSE
14                                (Third Party Responsibility)
15         44.    As for a forty-fourth affirmative defense, Redco alleges that it is not
16   responsible for the product line or items which Plaintiffs claim that it manufactured,
17   distributed or sold. Rather, Redco asserts that another entity manufactured, distributed
18   and sold this product line and is legally responsible therefore.
19                       FORTY-FIFTH AFFIRMATIVE DEFENSE
20                                   (Personal Jurisdiction)
21         45.    As for a forty-fifth affirmative defense, Redco alleges that this Court
22   lacks personal jurisdiction over Redco in this action.
23                       FORTY-SIXTH AFFIRMATIVE DEFENSE
24                          (Governmental Contractor Immunity)
25         46.    As a forty-sixth affirmative defense, Redco is informed and believes, and
26   based thereon alleges, that the project or projects upon which Plaintiffs were
27   providing labor and services, which employment Plaintiffs claim resulted in Plaintiffs’
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 1   alleged exposure to the allegedly toxic materials, were for the procurement of
 2   equipment by the government of the United States. To the extent that Redco provided
 3   products as contractors or subcontractors for the United States, Plaintiffs’ claims, and
 4   each of them, are barred by the doctrine of governmental contractor immunity as set
 5   forth in Boyle v. United Tech. Corp., 487 U.S. 509 (1988).
 6     RESERVATION OF RIGHTS TO ASSERT ADDITIONAL AFFIRMATIVE
 7                                          DEFENSES
 8         Redco has not knowingly and intentionally waived any applicable affirmative
 9   defense and reserves the right to assert and rely on any such other applicable
10   affirmative defenses as any becomes available or apparent during the conduct of
11   discovery.
12         WHEREFORE, Redco prays for judgment as follows:
13         1.     That Plaintiffs take nothing by his Complaint;
14         2.     That Redco be awarded judgment in its favor and against Plaintiffs;
15         3.     For its costs of suit incurred herein; and
16         4.     For such other and further relief as this Court may deem just and proper,
17   including, but not limited to, attorneys’ fees and costs in accordance with the United
18   States Code and Federal Rules of Civil Procedure.
19                                      CROSS-CLAIMS
20         1.     To the extent that Plaintiffs’ allegations against any other defendant are
21   correct, and Redco is held jointly liable to Plaintiffs for any amount above the amount
22   of its actual liability, said defendants are liable to Redco for contribution.
23         2.     To the extent that Redco is held liable solely as a result of acts of other
24   defendant(s), such as the supplying to Redco of an asbestos-containing product that
25   Redco incorporated into its products, said defendant(s) is/are obligated to indemnify
26   Redco for any amount Redco is obligated to pay.
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 1         WHEREFORE, Redco respectfully requests the Court to enter judgment in its
 2   favor as to Plaintiffs’ claims and any cross claims asserted against it by any other
 3   defendants. In the alternative, Redco requests that the Court enter an award in its
 4   favor with respect to its contribution or indemnity claims against other defendants.
 5   Redco requests any further relief to which it may be entitled.
 6
                                            K&L GATES LLP
 7

 8
     Dated: May 19, 2023                    By: /s/ Damon M. Pitt
 9
                                                Damon M. Pitt
10                                              Attorneys for Defendant Redco
                                                f/k/a Crane Co.
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 1                            DEMAND FOR JURY TRIAL
 2        Redco hereby demands a trial by jury in the above-entitled action pursuant to
 3   FRCP 38(b).
 4

 5   Dated: May 19, 2023                  Respectfully submitted,
 6

 7                                        By: /s/ Damon M. Pitt
 8                                              Damon M. Pitt
                                                Attorneys for Defendant Redco
 9                                              f/k/a Crane Co.
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 1                              CERTIFICATE OF SERVICE
 2
           The undersigned hereby certifies that on the 19th day of May, 2023, the
 3
     foregoing document was served on all counsel of record who have consented to
 4
     electronic service via the Court’s CM/ECF system. Any other counsel of record who
 5
     have not registered as an ECF user will be served by facsimile transmission or first
 6
     class mail.
 7

 8
                                               /s/ Damon M. Pitt
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                                               Damon M. Pitt
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